             Case 4:22-md-03047-YGR Document 672 Filed 03/07/24 Page 1 of 15



 1   [Parties and Counsel Listed on Signature Pages]
 2

 3

 4

 5

 6

 7
                                    UNITED STATES DISTRICT COURT
 8
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
                                         SAN FRANCISCO DIVISION
10

11
         IN RE: SOCIAL MEDIA ADOLESCENT                         MDL No. 3047
12
         ADDICTION/PERSONAL INJURY PRODUCTS
         LIABILITY LITIGATION                                   Case No. 4:22-md-03047-YGR (PHK)
13
         THIS FILING RELATES TO:                                Honorable Yvonne Gonzalez Rogers
14
         ALL ACTIONS                                            Magistrate Judge: Hon. Peter H. Kang
15

16                                                              STIPULATION AND [PROPOSED]
                                                                ORDER GOVERNING DISCOVERY
17                                                              LIMITATIONS
18

19           Plaintiffs and Defendants (each a “Party” and collectively the “Parties”) hereby submit the
20   following Stipulation and [Proposed] Order Governing Discovery Limitations.
21                                               STIPULATION
22           NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, SUBJECT TO THE
23   COURT’S APPROVAL:
24                  1. Plaintiffs as a group (including the JCCP Plaintiffs) 1 are allotted a combined total of
25   up to 45 Interrogatories for each of the four main Defendant groups (i.e., Meta, TikTok, Snap, and
26
     1
27    “Plaintiffs” refers to the MDL Personal Injury (“PI”) Plaintiffs, MDL School District and Local
     Government Entity (“SD”) Plaintiffs (together with the PI Plaintiffs, the “PI/SD Plaintiffs”), the MDL
28   State Attorneys General (“State AGs”), and the JCCP Plaintiffs.


                          STIPULATION AND [PROPOSED] ORDER GOVERNING DISCOVERY LIMITATIONS
                                                4:22-md-03047-YGR (PHK)
             Case 4:22-md-03047-YGR Document 672 Filed 03/07/24 Page 2 of 15



 1   YouTube). The State AGs are further allotted a combined total of eight (8) additional Interrogatories for
 2   the Meta Defendants.
 3                  2. Plaintiffs as a group (including the JCCP Plaintiffs) are allotted a combined total of
 4   up to 45 Requests for Admission (“RFAs”) for each of the four main Defendant groups (i.e., Meta,
 5   TikTok, Snap, and YouTube). 2 The State AGs are further allotted a combined total of up to eight (8)
 6   additional RFAs for the Meta Defendants.
 7                  3. The Meta Defendants are allotted a combined total of up to 32 identical
 8   Interrogatories for each State AG. The Meta Defendants are further allotted a combined total of up to
 9   six (6) additional State-specific Interrogatories for each State AG. 3
10                  4. The Meta Defendants are allotted a combined total of up to 32 identical RFAs for
11   each State AG. The Meta Defendants are further allotted a combined total of up to six (6) additional
12   State-specific RFAs for each State AG.
13                                                   Depositions
14                  5. In addition to the 35 hours of depositions of each bellwether SD Plaintiff permitted by
15   the Court, Defendants are allotted a combined total of up to ten (10) hours for Rule 30(b)(6) depositions
16   of each bellwether SD Plaintiff.
17                  6. Depositions of treating providers in any given bellwether PI case may not exceed five
18   (5) hours of questioning by the Defendants.
19                  7. With the exception of minors and treating providers, depositions of all other
20   witnesses in any given bellwether PI case may not exceed seven (7) hours of questioning by the
21   Defendants, and depositions of all other witnesses in any given bellwether SD case may not exceed ten
22   (10) hours of questioning by the Defendants. The Parties shall meet and confer in advance of each
23   deposition regarding estimated time lengths.
24
     2
25    The limitations on RFAs set forth in this Order do not include any RFAs that may be needed for
     purposes of authentication (to the extent the Parties are not able to stipulate to the authentication of
26   documents through other means).
     3
27    The State AGs note that their agreements regarding interrogatories and RFAs on the State AGs are
     subject to their understanding that party discovery—including interrogatories and RFAs—is appropriate
28   only as to the State AGs and not as to State agencies.

                                                           2
                           STIPULATION AND [PROPOSED] ORDER GOVERNING DISCOVERY LIMITATIONS
                                                 4:22-md-03047-YGR (PHK)
              Case 4:22-md-03047-YGR Document 672 Filed 03/07/24 Page 3 of 15



 1                  8. For good cause shown, a Party may seek an expansion or contraction of the discovery
 2   limits set forth above on a case-by-case basis or in a specific instance. Any Party seeking an expansion
 3   or contraction of the hours limit for a particular deposition shall meet and confer with the other side in
 4   advance of the deposition and, if the Parties are unable to agree on the requested expansion or
 5   contraction, the Party seeking the modification may raise the dispute with the Court in accordance with
 6   the Court’s procedures for resolving discovery disputes. However, nothing in this agreement shall be
 7   used to delay or alter the ordered limitations of a properly noticed deposition should the dispute not be
 8   resolved before the date of the noticed deposition. 4
 9

10            IT IS SO STIPULATED, through Counsel of Record.
11
         DATED: March 7, 2024                            Respectfully Submitted,
12

13
                                                         /s/ Lexi J. Hazam
14                                                          LEXI J. HAZAM
                                                            LIEFF CABRASER HEIMANN &
15                                                          BERNSTEIN, LLP
                                                            275 BATTERY STREET, 29TH FLOOR
16
                                                            SAN FRANCISCO, CA 94111-3339
17                                                          Telephone: 415-956-1000
                                                            lhazam@lchb.com
18
                                                             PREVIN WARREN
19                                                           MOTLEY RICE LLC
                                                             401 9th Street NW Suite 630
20
                                                             Washington DC 20004
21                                                           T: 202-386-9610
                                                             pwarren@motleyrice.com
22
                                                             Co-Lead Counsel
23
                                                             CHRISTOPHER A. SEEGER
24
                                                             SEEGER WEISS, LLP
25                                                           55 CHALLENGER ROAD, 6TH FLOOR

26
     4
27     The Parties further reserve the right to advocate for modifications of discovery limitations, including
     depositions and other discovery, in the event discovery on a particular Party becomes disproportionate,
28   taking into account relevant factors.

                                                             3
                           STIPULATION AND [PROPOSED] ORDER GOVERNING DISCOVERY LIMITATIONS
                                                 4:22-md-03047-YGR (PHK)
     Case 4:22-md-03047-YGR Document 672 Filed 03/07/24 Page 4 of 15



 1                                             RIDGEFIELD PARK, NJ 07660
                                               Telephone: 973-639-9100
 2                                             Facsimile: 973-679-8656
 3                                             cseeger@seegerweiss.com

 4                                             Counsel to Co-Lead Counsel

 5                                             JENNIE LEE ANDERSON
                                               ANDRUS ANDERSON, LLP
 6                                             155 MONTGOMERY STREET, SUITE 900
 7                                             SAN FRANCISCO, CA 94104
                                               Telephone: 415-986-1400
 8                                             jennie@andrusanderson.com

 9                                             Liaison Counsel
10
                                              RON AUSTIN
11                                            RON AUSTIN LAW
                                              400 Manhattan Blvd.
12                                            Harvey LA, 70058
                                              Telephone: (504) 227–8100
13                                            raustin@ronaustinlaw.com
14
                                               MATTHEW BERGMAN
15                                             GLENN DRAPER
                                               SOCIAL MEDIA VICTIMS LAW CENTER
16                                             821 SECOND AVENUE, SUITE 2100
                                               SEATTLE, WA 98104
17                                             Telephone: 206-741-4862
                                               matt@socialmediavictims.org
18
                                               glenn@socialmediavictims.org
19
                                               JAMES J. BILSBORROW
20                                             WEITZ & LUXENBERG, PC
                                               700 BROADWAY
21                                             NEW YORK, NY 10003
                                               Telephone: 212-558-5500
22
                                               Facsimile: 212-344-5461
23                                             jbilsborrow@weitzlux.com

24                                             PAIGE BOLDT
                                               WATTS GUERRA LLP
25                                             4 Dominion Drive, Bldg. 3, Suite 100
                                               San Antonio, TX 78257
26
                                               T: 210-448-0500
27                                             PBoldt@WattsGuerra.com

28                                             THOMAS P. CARTMELL

                                              4
               STIPULATION AND [PROPOSED] ORDER GOVERNING DISCOVERY LIMITATIONS
                                     4:22-md-03047-YGR (PHK)
     Case 4:22-md-03047-YGR Document 672 Filed 03/07/24 Page 5 of 15



 1                                             WAGSTAFF & CARTMELL LLP
                                               4740 Grand Avenue, Suite 300
 2                                             Kansas City, MO 64112
 3                                             T: 816-701 1100
                                               tcartmell@wcllp.com
 4
                                               JAYNE CONROY
 5                                             SIMMONS HANLY CONROY, LLC
                                               112 MADISON AVE, 7TH FLOOR
 6                                             NEW YORK, NY 10016
                                               Telephone: 917-882-5522
 7
                                               jconroy@simmonsfirm.com
 8
                                               CARRIE GOLDBERG
 9                                             C.A. GOLDBERG, PLLC
                                               16 Court St.
10                                             Brooklyn, NY 11241
11                                             T: (646) 666-8908
                                               carrie@cagoldberglaw.com
12
                                               SIN-TING MARY LIU
13                                             AYLSTOCK WITKIN KREIS &
                                               OVERHOLTZ, PLLC
14                                             17 EAST MAIN STREET, SUITE 200
                                               PENSACOLA, FL 32502
15
                                               Telephone: 510-698-9566
16                                             mliu@awkolaw.com

17                                             ANDRE MURA
                                               GIBBS LAW GROUP, LLP
18                                             1111 BROADWAY, SUITE 2100
                                               OAKLAND, CA 94607
19                                             Telephone: 510-350-9717
20                                             amm@classlawgroup.com

21                                             EMMIE PAULOS
                                               LEVIN PAPANTONIO RAFFERTY
22                                             316 SOUTH BAYLEN STREET, SUITE 600
                                               PENSACOLA, FL 32502
23                                             Telephone: 850-435-7107
24                                             epaulos@levinlaw.com

25                                                ROLAND TELLIS
                                                  DAVID FERNANDES
26                                                BARON & BUDD, P.C.
                                                  15910 Ventura Boulevard, Suite 1600
27                                                Encino, CA 91436
28                                                Telephone: (818) 839-2333

                                              5
               STIPULATION AND [PROPOSED] ORDER GOVERNING DISCOVERY LIMITATIONS
                                     4:22-md-03047-YGR (PHK)
     Case 4:22-md-03047-YGR Document 672 Filed 03/07/24 Page 6 of 15



 1                                                Facsimile: (818) 986-9698
                                                  rtellis@baronbudd.com
 2                                                dfernandes@baronbudd.com
 3
                                               ALEXANDRA WALSH
 4                                             WALSH LAW
                                               1050 Connecticut Ave, NW, Suite 500
 5                                             Washington D.C. 20036
                                               T: 202-780-3014
 6                                             awalsh@alexwalshlaw.com
 7
                                               MICHAEL M. WEINKOWITZ
 8                                             LEVIN SEDRAN & BERMAN, LLP
                                               510 WALNUT STREET
 9                                             SUITE 500
                                               PHILADELPHIA, PA 19106
10                                             Telephone: 215-592-1500
11                                             mweinkowitz@lfsbalw.com

12                                             DIANDRA “FU” DEBROSSE ZIMMERMANN
                                               DICELLO LEVITT
13                                             505 20th St North
                                               Suite 1500
14                                             Birmingham, Alabama 35203
15                                             Telephone: 205.855.5700
                                               fu@dicellolevitt.com
16
                                               HILLARY NAPPI
17                                             HACH & ROSE LLP
                                               112 Madison Avenue, 10th Floor
18                                             New York, New York 10016
19                                             Tel: 212.213.8311
                                               hnappi@hrsclaw.com
20
                                               JAMES MARSH
21                                             MARSH LAW FIRM PLLC
                                               31 HUDSON YARDS, 11TH FLOOR
22
                                               NEW YORK, NY 10001-2170
23                                             Telephone: 212-372-3030
                                               jamesmarsh@marshlaw.com
24
                                               Attorneys for Individual Plaintiffs
25
                                             PHILIP J. WEISER
26
                                             Attorney General
27                                           State of Colorado

28                                           _/s/ Bianca E. Miyata

                                              6
               STIPULATION AND [PROPOSED] ORDER GOVERNING DISCOVERY LIMITATIONS
                                     4:22-md-03047-YGR (PHK)
     Case 4:22-md-03047-YGR Document 672 Filed 03/07/24 Page 7 of 15



 1                                           Bianca E. Miyata, CO Reg. No. 42012,
                                             pro hac vice
 2                                           Senior Assistant Attorney General
 3                                           Lauren M. Dickey, CO Reg. No. 45773
                                             First Assistant Attorney General
 4                                           Megan Paris Rundlet, CO Reg. No. 27474
                                             Senior Assistant Solicitor General
 5                                           Elizabeth Orem, CO Reg. No. 58309
                                             Assistant Attorney General
 6                                           Colorado Department of Law
 7                                           Ralph L. Carr Judicial Center
                                             Consumer Protection Section
 8                                           1300 Broadway, 7th Floor
                                             Denver, CO 80203
 9                                           Phone: (720) 508-6651
                                             bianca.miyata@coag.gov
10

11                                           Attorneys for Plaintiff State of Colorado, ex rel.
                                             Philip J. Weiser, Attorney General
12
                                             ROB BONTA
13                                           Attorney General
                                             State of California
14

15                                           _/s/ Bernard Eskandari
                                             Nick A. Akers (CA SBN 211222)
16                                           Senior Assistant Attorney General
                                             Bernard Eskandari (SBN 244395)
17                                           Supervising Deputy Attorney General
                                             Megan O’Neill (CA SBN 343535)
18
                                             Joshua Olszewski-Jubelirer
19                                           (CA SBN 336428)
                                             Marissa Roy (CA SBN 318773)
20                                           Deputy Attorneys General
                                             California Department of Justice
21                                           Office of the Attorney General
22                                           455 Golden Gate Ave., Suite 11000
                                             San Francisco, CA 94102-7004
23                                           Phone: (415) 510-4400
                                             Fax: (415) 703-5480
24                                           Bernard.Eskandari@doj.ca.gov
25                                           Attorneys for Plaintiff the People of the State of
26                                           California

27                                           RUSSELL COLEMAN
                                             Attorney General
28                                           Commonwealth of Kentucky
                                              7
               STIPULATION AND [PROPOSED] ORDER GOVERNING DISCOVERY LIMITATIONS
                                     4:22-md-03047-YGR (PHK)
     Case 4:22-md-03047-YGR Document 672 Filed 03/07/24 Page 8 of 15



 1
                                             /s/ J. Christian Lewis
 2                                           J. Christian Lewis (KY Bar No. 87109),
 3                                           Pro hac vice
                                             Philip Heleringer (KY Bar No. 96748),
 4                                           Pro hac vice
                                             Zachary Richards (KY Bar No. 99209),
 5                                           Pro hac vice app. forthcoming
                                             Daniel I. Keiser (KY Bar No. 100264),
 6                                           Pro hac vice
 7                                           Matthew Cocanougher (KY Bar No. 94292),
                                             Pro hac vice
 8                                           Assistant Attorneys General
                                             1024 Capital Center Drive, Suite 200
 9                                           Frankfort, KY 40601
                                             CHRISTIAN.LEWIS@KY.GOV
10
                                             PHILIP.HELERINGER@KY.GOV
11                                           ZACH.RICHARDS@KY.GOV
                                             DANIEL.KEISER@KY.GOV
12                                           MATTHEW.COCANOUGHER@KY.GOV
                                             Phone: (502) 696-5300
13                                           Fax: (502) 564-2698
14
                                             Attorneys for Plaintiff the Commonwealth of
15                                           Kentucky

16                                           MATTHEW J. PLATKIN
                                             Attorney General
17                                           State of New Jersey
18
                                             /s/ Kashif T. Chand
19                                           Kashif T. Chand (NJ Bar No. 016752008),
                                             pro hac vice
20                                           Section Chief, Deputy Attorney General
                                             Thomas Huynh (NJ Bar No. 200942017),
21                                           pro hac vice
22                                           Assistant Section Chief, Deputy Attorney General
                                             Gina F. Pittore (NJ Bar No. 323552019),
23                                           pro hac vice
                                             Verna J. Pradaxay (NJ Bar No. 335822021),
24                                           pro hac vice
                                             Mandy K. Wang (NJ Bar No. 373452021),
25                                           pro hac vice
26                                           Deputy Attorneys General
                                             New Jersey Office of the Attorney General,
27                                           Division of Law
                                             124 Halsey Street, 5th Floor
28                                           Newark, NJ 07101
                                              8
               STIPULATION AND [PROPOSED] ORDER GOVERNING DISCOVERY LIMITATIONS
                                     4:22-md-03047-YGR (PHK)
     Case 4:22-md-03047-YGR Document 672 Filed 03/07/24 Page 9 of 15



 1                                           Tel: (973) 648-2052
                                             Kashif.Chand@law.njoag.gov
 2                                           Thomas.Huynh@law.njoag.gov
 3                                           Gina.Pittore@law.njoag.gov
                                             Verna.Pradaxay@law.njoag.gov
 4                                           Mandy.Wang@law.njoag.gov

 5                                           Attorneys for Plaintiffs New Jersey Division of
                                             Consumer Affairs
 6

 7                                           COVINGTON & BURLING LLP

 8                                           By: /s/ Ashley M. Simonsen
                                             Ashley M. Simonsen, SBN 275203
 9                                           COVINGTON & BURLING LLP
                                             1999 Avenue of the Stars
10
                                             Los Angeles, CA 90067
11                                           Telephone: (424) 332-4800
                                             Facsimile: + 1 (424) 332-4749
12                                           Email: asimonsen@cov.com

13                                           Phyllis A. Jones, pro hac vice
                                             Paul W. Schmidt, pro hac vice
14
                                             COVINGTON & BURLING LLP
15                                           One City Center
                                             850 Tenth Street, NW
16                                           Washington, DC 20001-4956
                                             Telephone: + 1 (202) 662-6000
17                                           Facsimile: + 1 (202) 662-6291
                                             Email: pajones@cov.com
18

19                                           Attorney for Defendants Meta Platforms, Inc.
                                             f/k/a Facebook, Inc.; Facebook Holdings,
20                                           LLC; Facebook Operations, LLC; Facebook
                                             Payments, Inc.; Facebook Technologies, LLC;
21                                           Instagram, LLC; Siculus, Inc.; and Mark Elliot
22                                           Zuckerberg

23                                           FAEGRE DRINKER LLP
                                             By: /s/ Andrea Roberts Pierson
24                                           Andrea Roberts Pierson, pro hac vice
                                             Amy Fiterman, pro hac vice
25                                           FAEGRE DRINKER LLP
26                                           300 N. Meridian Street, Suite 2500
                                             Indianapolis, IN 46204
27                                           Telephone: + 1 (317) 237-0300
                                             Facsimile: + 1 (317) 237-1000
28                                           Email: andrea.pierson@faegredrinker.com
                                              9
               STIPULATION AND [PROPOSED] ORDER GOVERNING DISCOVERY LIMITATIONS
                                     4:22-md-03047-YGR (PHK)
     Case 4:22-md-03047-YGR Document 672 Filed 03/07/24 Page 10 of 15



 1                                           Email: amy.fiterman @faegredrinker.com
 2                                           GEOFFREY DRAKE, pro hac vice
 3                                           David Mattern, pro ha vice
                                             KING & SPALDING LLP
 4                                           1180 Peachtree Street, NE, Suite 1600
                                             Atlanta, GA 30309
 5                                           Tel.: 404-572-4600
                                             Email: gdrake@kslaw.com
 6                                           Email: dmattern@kslaw.com
 7
                                             Attorneys for Defendants TikTok Inc. and
 8                                           ByteDance Inc.

 9                                           MUNGER, TOLLES & OLSEN LLP
                                             By: /s/ Jonathan H. Blavin
10
                                             Jonathan H. Blavin, SBN 230269
11                                           MUNGER, TOLLES & OLSON LLP
                                             560 Mission Street, 27th Floor
12                                           San Francisco, CA 94105-3089
                                             Telephone: (415) 512-4000
13                                           Facsimile: (415) 512-4077
                                             Email: jonathan.blavin@mto.com
14

15                                           Rose L. Ehler (SBN 29652)
                                             Victoria A. Degtyareva (SBN 284199)
16                                           Laura M. Lopez, (SBN 313450)
                                             Ariel T. Teshuva (SBN 324238)
17                                           MUNGER, TOLLES & OLSON LLP
                                             350 South Grand Avenue, 50th Floor
18
                                             Los Angeles, CA 90071-3426
19                                           Telephone: (213) 683-9100
                                             Facsimile: (213) 687-3702
20                                           Email: rose.ehler@mto.com
                                             Email: victoria.degtyareva@mto.com
21                                           Email: Ariel.Teshuva@mto.com
22
                                             Lauren A. Bell (pro hac vice forthcoming)
23                                           MUNGER, TOLLES & OLSON LLP
                                             601 Massachusetts Ave., NW St.,
24                                           Suite 500 E
                                             Washington, D.C. 20001-5369
25                                           Telephone: (202) 220-1100
26                                           Facsimile: (202) 220-2300
                                             Email: lauren.bell@mto.com
27
                                             Attorneys for Defendant Snap Inc.
28

                                             10
               STIPULATION AND [PROPOSED] ORDER GOVERNING DISCOVERY LIMITATIONS
                                     4:22-md-03047-YGR (PHK)
     Case 4:22-md-03047-YGR Document 672 Filed 03/07/24 Page 11 of 15



 1                                           WILSON SONSINI GOODRICH & ROSATI
                                             Professional Corporation
 2                                           By: /s/ Brian M. Willen
 3                                           Brian M. Willen
                                             WILSON SONSINI GOODRICH & ROSATI
 4                                           1301 Avenue of the Americas, 40th Floor
                                             New York, New York 10019
 5                                           Telephone: (212) 999-5800
                                             Facsimile: (212) 999-5899
 6                                           Email: bwillen@wsgr.com
 7
                                             Lauren Gallo White
 8                                           Samantha A. Machock
                                             WILSON SONSINI GOODRICH & ROSATI
 9                                           One Market Plaza, Spear Tower, Suite 3300
                                             San Francisco, CA 94105
10
                                             Telephone: (415) 947-2000
11                                           Facsimile: (415) 947-2099
                                             Email: lwhite@wsgr.com
12                                           Email: smachock@wsgr.com

13                                           Christopher Chiou
                                             WILSON SONSINI GOODRICH & ROSATI
14
                                             633 West Fifth Street
15                                           Los Angeles, CA 90071-2048
                                             Telephone: (323) 210-2900
16                                           Facsimile: (866) 974-7329
                                             Email: cchiou@wsgr.com
17
                                             Attorneys for Defendants YouTube, LLC, Google
18
                                             LLC, and Alphabet Inc.
19
                                             WILLIAMS & CONNOLLY LLP
20                                           By: /s/ Joseph G. Petrosinelli
                                             Joseph G. Petrosinelli
21                                           jpetrosinelli@wc.com
22                                           Ashley W. Hardin
                                             ahardin@wc.com
23                                           680 Maine Avenue, SW
                                             Washington, DC 20024
24                                           Telephone.: 202-434-5000
                                             Fax: 202-434-5029
25

26                                           Attorneys for Defendants YouTube, LLC, Google
                                             LLC, and Alphabet Inc.
27

28

                                             11
               STIPULATION AND [PROPOSED] ORDER GOVERNING DISCOVERY LIMITATIONS
                                     4:22-md-03047-YGR (PHK)
           Case 4:22-md-03047-YGR Document 672 Filed 03/07/24 Page 12 of 15



 1                                             ATTESTATION
 2
            I, Ashley Simonsen, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence to
 3
     the filing of this document has been obtained from each signatory hereto.
 4

 5
     Dated: March 6, 2024
 6
                                                     By: /s/ Ashley M. Simonsen
 7                                                        Ashley M. Simonsen
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                          STIPULATION AND [PROPOSED] ORDER GOVERNING DISCOVERY LIMITATIONS
                                                4:22-md-03047-YGR (PHK)
            Case 4:22-md-03047-YGR Document 672 Filed 03/07/24 Page 13 of 15



 1                                             [PROPOSED] ORDER
 2          The Court hereby ORDERS the following limitations on discovery, pursuant to the Parties’
 3   Stipulation above and the Court’s Discovery Management Order No. 3 (ECF 667).
 4                                 Interrogatories and Requests for Admission
 5                  1. Plaintiffs as a group (including the JCCP Plaintiffs) 5 are allotted a combined total of
 6   up to 45 Interrogatories for each of the four main Defendant groups (i.e., Meta, TikTok, Snap, and
 7   YouTube). The State AGs are further allotted a combined total of eight (8) additional Interrogatories for
 8   the Meta Defendants.
 9                  2. Plaintiffs as a group (including the JCCP Plaintiffs) are allotted a combined total of
10   up to 45 Requests for Admission (“RFAs”) for each of the four main Defendant groups (i.e., Meta,
11   TikTok, Snap, and YouTube). 6 The State AGs are further allotted a combined total of up to eight (8)
12   additional RFAs for the Meta Defendants.
13                  3. The Meta Defendants are allotted a combined total of up to 32 identical
14   Interrogatories for each State AG. The Meta Defendants are further allotted a combined total of up to
15   six (6) additional State-specific Interrogatories for each State AG.
16                  4. The Meta Defendants are allotted a combined total of up to 32 identical RFAs for
17   each State AG. The Meta Defendants are further allotted a combined total of up to six (6) additional
18   State-specific RFAs for each State AG.
19                  5. Defendants are allotted a combined total of up to fifteen (15) Interrogatories for each
20   bellwether SD Plaintiff, ten (10) interrogatories for each minor (under age eighteen) bellwether PI
21   Plaintiff, and seven (7) interrogatories for all other bellwether PI Plaintiffs. Defendants are further
22   allotted a combined total of up to 15 RFAs for each bellwether PI Plaintiff and 17 RFAs for each
23   bellwether SD Plaintiff.
24
     5
25    “Plaintiffs” refers to the MDL Personal Injury (“PI”) Plaintiffs, MDL School District and Local
     Government Entity (“SD”) Plaintiffs (together with the PI Plaintiffs, the “PI/SD Plaintiffs”), the MDL
26   State Attorneys General (“State AGs”), and the JCCP Plaintiffs.
     6
27    The limitations on RFAs set forth in this Order do not include any RFAs that may be needed for
     purposes of authentication (to the extent the Parties are not able to stipulate to the authentication of
28   documents through other means).

                                                          13
                           STIPULATION AND [PROPOSED] ORDER GOVERNING DISCOVERY LIMITATIONS
                                                 4:22-md-03047-YGR (PHK)
            Case 4:22-md-03047-YGR Document 672 Filed 03/07/24 Page 14 of 15



 1                                                      Depositions
 2                   6. The PI/SD Plaintiffs are allotted a combined total of up to 240 hours for fact and Rule
 3   30(b)(6) depositions with respect to each of the four main Defendant groups (i.e., Meta, Snap, TikTok,
 4   and YouTube). The State AGs are allotted up to an additional 48 hours for such depositions of the Meta
 5   Defendants. The length of any such deposition shall not exceed twelve hours per deponent. The Parties
 6   shall meet and confer in advance of each deposition regarding estimated time lengths.
 7                   7. Hours allotments for fact and Rule 30(b)(6) depositions with respect to the State AGs
 8   shall be set forth in a separate, further order.
 9                   8. Defendants are allotted a combined total of up to 30 hours for fact depositions of each
10   bellwether PI Plaintiff and a combined total of up to 35 hours for depositions of each bellwether SD
11   Plaintiff. Defendants are allotted a combined total of up to ten (10) hours for Rule 30(b)(6) depositions
12   of each bellwether SD Plaintiff. Depositions of minor bellwether PI Plaintiffs (where minors are those
13   persons under age eighteen (18)) shall be limited to a maximum of three (3) hours in single-defendant
14   cases and a maximum of four (4) hours in multi-defendant cases. Depositions of treating providers in
15   any given bellwether PI case may not exceed five (5) hours of questioning by the Defendants.
16                   9. Depositions of all other witnesses in any given bellwether PI case may not exceed
17   seven (7) hours of questioning by the Defendants, and depositions of all other witnesses in any given
18   bellwether SD case may not exceed ten (10) hours of questioning by the Defendants. The Parties shall
19   meet and confer in advance of each deposition regarding estimated time lengths.
20           10.         For good cause shown, a Party may seek an expansion or contraction of the discovery
21   limits set forth above on a case-by-case basis or in a specific instance. Any Party seeking an expansion
22   or contraction of the hours limit for a particular deposition shall meet and confer with the other side in
23   advance of the deposition and, if the Parties are unable to agree on the requested expansion or
24   contraction, the Party seeking the modification may raise the dispute with the Court in accordance with
25   the Court’s procedures for resolving discovery disputes. However, nothing in this agreement shall be
26   used to delay or alter the ordered limitations of a properly noticed deposition should the dispute not be
27   resolved before the date of the noticed deposition.
28

                                                            14
                            STIPULATION AND [PROPOSED] ORDER GOVERNING DISCOVERY LIMITATIONS
                                                  4:22-md-03047-YGR (PHK)
           Case 4:22-md-03047-YGR Document 672 Filed 03/07/24 Page 15 of 15



 1   IT IS SO ORDERED.
 2
     Dated: March 7, 2024                       ____________________________________________
 3                                              MAGISTRATE JUDGE PETER H. KANG
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                      15
                        STIPULATION AND [PROPOSED] ORDER GOVERNING DISCOVERY LIMITATIONS
                                              4:22-md-03047-YGR (PHK)
